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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI
OXFORD DIVISION

 

EQUAL EMPLOYl\/IENT
OPPORTUNITY COl\/IMISSION,

Plaintiff,
Civil Action No.: 3:14-cv-00217~l\/IPl\/I~SAA

V,

RESOURCE El\/lPLOYl\/IENT
SOLUTIONS, LLC,

\_/\_/\_/\/\./\/\./\./\/V\_/

Defendant.

 

DEFENDANT’S RESPONSE IN OPP()SITION TO PLAINTIFF’S FIRST
MOTION TO COMPEL DISCOVERY

 

Defendant Resource Employment Solutions, LLC (“Defendant” or “Resource LLC"`) by
and through counsel files this Response in Opposition to Plaintiff Equal Employment Opportunity
Commission’s (“EEOC”) First Motion to Compel Discovery.

l. PROCEDURAL HISTORY

Plaintif`f` filed this action in the United States District Court f`or the Northern District of`
l\/Iississippi Oxford Division on September 3(), 2014, alleging that the Def`endant’S employment
practices during the February 2011 to November 2011 time period were discriminatory in that
Def`endant’s selection process favored Hispanic applicants (D. E. 1, Complaint, Exhibit 4). The
EEOC originally identified eleven alleged aggrieved parties including the one charging party,
Nakia Sanford. The EEOC claims to have identified Some thirty additional alleged aggrieved
parties. However, July 31, 2015 Was the deadline for the Parties to file any joinder or amended

pleadings. (D.E. 27, Case l\/Ianagement Order). The parties have engaged in extensive discovery

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including Defendant responding to Plaintiff"s First Set of lnterrogatories, First Set of Requests for
Production of Documents, and Plaintiff` s Second Set of lnterrogatories, as vvell as Defendant
deposing seven of the originally identified alleged aggrieved parties
II. FACTUAL BACKGROUND

Defendant, a temporary staffing agency, is a Florida Limited Liability Company registered
to do business in Tennessee and l\/lississippi beginning on or about March 2013. (D. E. 39~1,
Declaration of L. Lluberes). ln l\/larch 2013, Resource LLC purchased Resource Staf`fing in an
asset only purchase (D.E. 39-1, Declaration of l.. liluberes).

On l\/lay 11, 201l, Sanford Was placed as a temporary Worker at FedEx Smart Post. On
September 22, 2011, Sanford filed a charge with the EEOC alleging race and national origin
discrimination against Resource Staffing. Resource Staffing responded to the charge and
provided documents requested by the EEOC. Due to family reasons, Sanford voluntarily ceased
Working in December 2011. In February 2012, Sanford re-applied, but Was not eligible to be
placed at FedEX Smart Post because the required FedEx Smart Post background check revealed
that Sanford had a felony conviction

During the charge investigation, Resource Staffing handed over voluminous information

as requested by the EEOC in its initial investigation

As noted above, after the initial charge, but before the filing of this lawsuit, Resource LLC

purchased Resource Staffing. Defendant Resource LLC has responded in good faith and continues
to respond in good faith to Plaintiff` s discovery requests and requests for production With all the
information currently available to it. Defendant has submitted some 1,359 pages of documents
to Plaintiff, much of it consisting of the same information that Resource Staffing provided in the

charge investigation Plaintiff"s allegations that Defendant has provided deficient discovery

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responses in regards to Plaintiff`s Requests for Production numbers 9, 12, 13, 15, 19, and 20 is
incorrect and without merit. Defendant has objected to Plaintiff` s Requests to the extent they seek
documents outside Defendants control or possession, are overbroad as to time and scope, or
because the information sought is not responsive or relevant to a claim or likely to lead to the
discovery of any admissible information Defendant Resource LLC has in good faith attempted to
respond and produce responsive relevant information to the EEOC.
Ill. LAW & ARGUl\/IENT

It is clear that the EEOC is improperly attempting to expand the scope of this litigation
from a defined 10 month time period in 2011 to over a 6_}@ time frame. Such conduct is an
unconscionable heavy-handed exercise of governmental action which Defendant asserts is
disguised to make this litigation so financially burdensome to Defendant. Courts have recognized
that Title Vll plaintiffs "do not have an unlimited ability to delve into their employers' policy and
personnel records, even when they have alleged a pattern of discrimination” and that the needs and
rights of both the plaintiff and the defendant are to be balanced Frcmkll'n v. Ll'ving Centers#East,
lnc., No. Civ.A. 98-36301999, WL 615171, at *l, *2 (E.D.La. 1999) (citing Scclle.s' v. J.(,'.
Brac{fora’ & CO., 925 F.2d 901, 906 (6th Cir, 1991) (citing Trevim) v. Celcmese Corp., 701 F.2d
397 (5th Cir. 1983)). Accordingly, this Court should balance both relevance and proportionality
to the needs of the case with Plaintiff’ s demands for information Based on this balancing test,
Defendant submits that Plaintiff` s discovery requests are overbroad in scope and time and not
relevant due to the temporal time identified by the EEOC in Sanford’s EEOC Charge. and its
l)etermination and Conciliation efforts Plaintifl` clearly stated in its l)etermination l.cttcr and
Complaint that the alleged discrimination occurred between February 201 1 and l\lovcmbcr 201 l.

(D.E. 1, Complaint, Exhibit 4). However, Plaintiff now, in its discovery requests, wants to

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arbitrarily expand the temporal scope of discovery to include a wide time frame of almost six years
- which is not relevant to this matter. The EEOC’s efforts to obtain such a vast time period of
documentation is nothing more than a fishing expedition into information which is not relevant or
temporally related to the allegations of the Complaint

Specifically, the Request for Production at issue by Plaintiff are outside the temporal scope
of discovery, not relevant, and some would create an undue burden for Defendant to produce,
which are detailed below.

REQUEST FOR PRODUCTION N(). 9: A copy of Defendant's financial statements, including its
Profit and Loss Statements, lncome Statements, Balance Sheets, and Federal lncome Tax returns
from January 1, 2009 to the present

RESPONSE NO. 9: OBJECTION. Defendant objects to this request on the basis that it seeks
documents that are not relevant to a claim or defense of the parties, nor is it likely to lead to the
discovery of admissible evidence, since Plaintiff has set forth only a conclusory demand for
punitive damages Subject to and without waiving any objection, relevant non-privileged
documents, will be made available to Plaintiff at a time and in a manner that the Court deems
appropriate

SUPPLEMENTAL RESPONSE NO. 9: Subject to and without waiving any objections or
foregoing objections Defendant further states that it is a privately held company and that at this
time there are no facts to support punitive damages 'l`he Complaint makes a conclusory statement
regarding punitive damages Therefore, the financial information is not relevant, and upon a
showing of facts that would support a finding of punitive damages Defendant will produce the
financial information in a manner as directed by the Court to protect the privacy of Def`cndant’s
financial information

Defendant asserts that this request for production is overbroad as to the time. Plaintif`f`s
request for financial documents spanning from January 1, 2010 to the present is unfounded being
that its claim for punitive damages is speculative at best. Defendant agreed prior to the filing of
this l\/lotion to provide the current financial information to the EEOC after entry of a protective
orderv
REOUEST FOR PRODUCTION NO. 12: With respect to any electronically stored information

that has been used by Resource Employment Solutions, LLC, to record personnel information on
any employees, either temporary or permanent, employed by Resource Employment Solutions,

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LLC, and placed at, referred to, assigned to the FedEx Smart Post or any other worksite where
Defendant placed, assigned, referred, or supplied workers through Defendant's office(s) located
in l\/Iemphis, Tennessee) during the period of January l, 2010, to the present inclusive, please
produce:
a. The first ten pages of data from any reports regularly generated or printed from the
electronically stored information where the report contains any personnel information
b. Any record layout, data dictionary, or other document that identifies or describes the
records or fields in any file or table that contains personnel information
c. Any coding sheets code books or other documents used to interpret or explain codes
or abbreviated entries for personnel information
d. Hard-copy printouts of any look-up tables that explain coded or abbreviated entries
for any personnel information
e. Any manuals, guidebooks, or instructions describing the computer program, filc. or
database containing personnel information
f. Any operator manual or data entry manual for the computer program, file, or
database, or any other documents that describe or show the screens displayed when
accessing the program, file, or database containing personnel information
g. Any documents which identify the name, model number, operating system,
configuration and location of the computer used to create, access modify or otherwise
process the computer program, file, or database containing personnel information
h. Any documents which identify the medium on which the computer program, file, or
database containing personnel information is stored, ggu tape, hard disk, or CD.

RESPONSE NO. 12: Defendant incorporates by reference its general objections as if stated
herein Defendant objects on the basis that the request is overbroad as to time, since the allegations
relate to time period from February 2011 to November 201 1. Defendant objects to this
interrogatory on the basis that it is overbroad as to scope. Defendant objects to this request on the
basis that it is impermissibly compound to the extent that it ask for separate categories of
information Subject to and without waiving any objections Defendant will produce non-
privileged responsive documents to the extent such documents are in the Defendant’s possession
custody, or control and can be located after a reasonable search.

SUPPLEMENTAL RESPONSE N(). 12: Subject to and without waiving any objections
Defendant does not have any electronically maintained documents from February 201 l to
December 2011 responsive to Request No. 12 with the exception of the data maintained in ADP.
Defendant did not maintain any electronic personnel information on any employees either
temporary or permanent, and placed at, referred to, assigned to the FedEx Smart Post or any other
worksite during 201 l. All of the application information was maintained in hard copy form, with

the exception ofpayroll records which have been provided in hard form. Likewise, Defendant has

provided any personnel file information that was available in hard copy form.

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This request for production is overly broad as to scope by its reference to any electronically
stored information regarding personnel information See Aikens v. Deluxe financial Servz`ces, lnc.,
217 FRD 533, 538 (D. Kansas 2003) (Court held a request overbroad and unduly burdensome on
its face when it sought all document “regarding” or “relating” to the lawsuit and the eleven
plaintiffs and their EEOC charges). Speciflcally, Plaintiff requests “electronically stored
information that has been used by Resource Employment Solutions, LLC, to record personnel
information on any employee, either temporary or permanent, employed by Resource Solutions,
LLC, and placed at, referred to, assigned to the FedEx Smart Post or any other worksite where
Defendant placed, assigned, referred or supplied workers through Defendant’s office(s) located in

*’

l\/lemphis, 'l`ennessee…. Plaintiff also requests a plethora of items in multiple categories of

information within this request.

Plaintiff` s allegations against Defendant focuses on the work site of the FedEx Smart Post
location in Southaven, l\/lS. Providing any information regarding employees outside of this
location is both irrelevant and unnecessary Federal Rule ofCivil Procedure 26(b)(1) allows:

[p]arties [to] obtain discovery regarding any nonprivileged matter

that is relevam to any party's claim or defense and proportional to

the needs of the case, considering the importance of the issues at

stake in the action, the amount in controversy, the parties' relative

access to relevant information, the parties' resources the importance

of the discovery in resolving the issues and whether the burden or

expense of the proposed discovery outweighs its likely benefit.

Information within this scope of discovery need not be admissible

in evidence to be discoverable
Fed. R. Civ. P. 26(b)(1). Plaintiff"s interpretation ofthis Rule is misguided Although_ information
within the scope of discovery need not be admissible it must be relevant to a party’s claim or
defense Ia’. The Fifth Circuit Court of Appeals has emphasized that the context of an employment

discrimination complaint should most naturally focus on the source of the complained of

discrimination - the employing unit or work unit. EE()C v. Packard Eleclrl`c Dl`vision, Gerzeral

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Molors Corp., 569 F.2d 315 (5th Cir. 1978).

Additionally, Plaintiff`s request for information regarding any employee, regardless of
status is overbroad Defendant operated a temporary employment service where many employees
applied and never worked for Defendant at the FedEx Smart Post location, or at all. Plaintif`f"s
request for documents during the time period identified by the EEOC in its discovery and motion
to compel, is overly broad and not responsive as to the any of the allegations against Defendant as
defined by Plaintiffin the lawsuit, because the purported class members only worked at the bedle
Smart Post location in Southaven, l\/Iississippi.

This request for production is overbroad as to the time Plaintiff`s request for documents
spanning from January 1, 2010 to the present is both overbroad as to time and not relevant to
Plaintiff" s claims in this matter. Defendant has provide relevant non-privileged documents that
are responsive to Plaintist requests for production from January 201 l to December 201 l, as that
is the relevant timeframe for the alleged discrimination Defendant has offered to provide
documents through 2012, which was refused by Plaintiff.

Accordingly, this Court should limit the Plaintiff`s request to only those employees who
worked for Defendant at the FedEx Smart Post location in 201 l .

REQUEST FOR PRODUCTION NO. 13: Any documents or electronically stored

 

information that describe Defendant's e-mail system during the period January l, 2010, to the

present, including but not limited to:

a. Any documents or electronically stored information that describe Defendant's email
system(s).

b. Any documents or electronically stored information that describe a system for preserving
or backing up e-mails, including any policy or procedure for re~use of backup media.

c. Any documents or electronically stored information that describe a system for
purging or erasing e-mails.

d. Any documents or electronically stored information that describe a system or method f`or

retrieving e-mails that have been deleted from users' individual computers

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e. Any documents or electronically stored information that describe a system or method for
retrieving e-mails from a network server or from some other source

RESPONSE N(). 13: Defendant incorporates by reference its general objections as if stated
herein Defendant objects on the basis that the request is overbroad as to time, since the allegations
relate to time period from February 2011 to November 201 1. Defendant objects to this
interrogatory on the basis that it is overbroad as to scope by use of “any” documents Defendant
further objects to this request on the basis that it is impermissibly compound to the extent that it
ask for separate categories of information Subject to and without waiving any objections
Defendant will produce non-privileged responsive documents to the extent such documents are in
the Defendant’s possession, custody, or control and can be located after a reasonable search.
SUPPLEMENTAL RESPONSE NO. 13: Subject to and without waiving any objections
Defendant does not have any documents from February 2011 to December 20ll responsive to
Request No. 12 with the exception of the data maintained in ADP and outlook.

Defendant does not have any responsive information and did identify the use ofoutlook as
the email system in use by Defendant and ADP for payroll purposes used by Defendant Plaintiff
asserts that Defendant has not complied with this request

Plaintist request for documents spanning from January 1, 2010 to the present is overly
broad and not responsive to this matter. The relevant timeframe as identified by Plaintiffregarding
the alleged discrimination occurred from February 201 l to November 2011. Defendant has
provided relevant, non-privileged documents that are responsive to Plaintiff` s requests for
production through 201 l. Defendant has offered to produce the relevant information through 2012;
however this was not agreeable to Plaintiff.

l\/loreover, Plaintiff"s request for information pertaining to the operation ofl)efendant`s e-
mail system has no bearing on its face to any claims asserted by Plaintiff or being defended by
Defendant, nor does Defendant have any of the categories of information in its possession 'l`hus.

the Court should not require Defendant to provided additional information in regards to this request

for production

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REQUEST FOR PRODUCTION NO. 15: For all persons who applied at Defendant's l\/lemphis
office(s) for placement as temporary workers in the Memphis and/or North l\/Iississippi area
(including but not limited to placement at the FedEx Smart Post facility) during the period from
January l, 2010, through the present, produce all electronically stored information, computerized
files and databases containing any personnel infomiation (as defined above) whether stored
generated, or processed by Defendant or by any other entity under contractual or other arrangements
on mainframe computers "mini"-computers network servers, personal computers or other similar
electronic equipment, including but not limited to the following:
a. All database tables from any human resource or payroll system.
b. If not otherwise provided, all database tables used to access extract, process export, or
copy any computerized personnel information transferred at any time to the Defendant's
expert(s).
c. If not otherwise provided, all database tables from archival backup databases or files (such
as monthly, quarterly, and end-of-year "snapshot" files) from any Tl\/IC Corp. human resource or
payroll system.
d If not otherwise provided, all database tables containing personnel transactions including,
but not limited to,
(1) effective date(s);
(2) "present" ("from") and "change to" values; and
(3) employee change codes (both alphanumeric values eg._ "3107," and descriptive
labels e,g., "SEASONAL. PART-Tll\/IE l'llRE"); showing among other items any and
all changes in a person's employment conditions (including. but not limited to, changes
in amounts and types of compensation, job titles salary grades work and project
assignments performance evaluations leave, promotions transfers benefits
termination, and rehiring).
e. If not otherwise provided, all electronically stored applicant files including basic
demographic information such as name, address telephone number, social security number and
the information regarding the following: job skill information, job history information, any
comments resume search, cumulative hours payroll information, job offer, and placement
information
f. lf not otherwise provided, all payroll records
g. If not otherwise provided, all database tables used in the normal course of business to
produce computer-generated reports containing personnel information
The data tables produced in response to Request No. 15 should be produced on compact
disks and may be written in one of the following formats: l\/lS-Access dBase, Paradox, Quattro
Pro, Fox Pro compatible files or as Excel spreadsheets where the number of rows in the table
does not exceed the maximum allowed in such a format. Ifit is not possible to produce the tables
in one of these formats they should be produced as ASCII delimited files accompanied by
appropriate documentation Appropriate documentation includes the name of each field, its
location within a record, a complete and accurate description of the contents of each field and
does not contain any unexplained codes terms or abbreviations, the number of bytes contained
in each tile, a log of any queries used to import or export data and a definition of any unexplained
codes terms or abbreviations in an automated f`ormati such as Excel. Production of "appropriate
documentation" means you should also produce any operator manual or data entry manual for
the database, or any other documents that describe or show the screens displayed when using the
database or when entering information

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RESPONSE NO. 15: Defendant incorporates by reference its general objections as if stated
herein Defendant objects on the basis that the request is overbroad as to time, since the allegations
relate to time period from February 2011 to November 201 1. Defendant objects to this
interrogatory on the basis that it is overbroad as to scope Defendant further objects to this request
on the basis that it seeks information regarding individuals who “applied,” which is not relevant
to claim or defense of the parties nor is it likely to lead to the discovery of admissible evidence
Defendant further objects to this request on the basis that it is impermissibly compound to the
extent that it ask for separate categories of information, Subject to and without waiving any
objections Defendant will produce non-privileged responsive documents to the extent such
documents are in the Defendant’s possession, custody, or control and can be located after a
reasonable search.

SUPPLEMENTAL RESPONSE NO. 15: Subject to and without waiving any objections
Defendant does not have any electronically stored documents from February 2011 to December
2011 responsive to Request No. 15, see Resource000736-l3l 1.

In response to Plaintiff` s request, Defendant has provided relevant non-privileged
documents that are responsive to Plaintiffs requests for production through 2011, which is the
relevant timeframe identified by the EEOC, for the alleged discrimination occurred from February
2011 to November 2011. All of the identified documents were not maintained electronically and
Defendant produced in hard copy form the responsive relevant documents identified with bates
stamp number Resource000736- l 31 1 .

This request for production is overbroad as to the time and scope Plaintiff`s request for
documents spanning from January l, 2010 to the present is not relevant to this matter.

Notwithstanding that this request for production is overly broad as to time, it is also
intrusive and can be accomplished without providing the access to electronically stored
information that Plaintiff is requesting Plaintif`Fs request would essentially require Defendant to
allow Plaintiff unfettered access to its current database to conduct a fishing expedition searching
for information to that is not relevant to this matter. Plaintiff is requesting access to a live database

that contains private, personal information regarding applicants and employees who are not a party

to this lawsuit Courts have held that the production ofemployment records should not be allowed

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absent a compelling demonstration of relevance, because of the inherent privacy interests Mz`l/er
v. Fea'eral Express Corp., 186 F.R.D. 376, 384 (W.D. Tenn. 1999).

The court in Cle)nans v. Dallar Gen. Corp. limited the scope of discovery by denying
plaintiffs request to access personnel records of defendant’s employees_who were not a part of
the action No. 2:09-CV-64, 2010 WL 1994809, at *1,*11 (N.D. l\/liss l\/lay 18, 2010). The
Clemons Court examined each disputed interrogatory and request for production thoroughly and
concluded that plaintiff`s discovery request should be denied Ia'. at *5. Of note, the (`lem()n.s'
Court limited the scope of discovery in regards to the plaintiff obtaining personal information
regarding other employees who were not parties to the action because plaintiffdid not demonstrate
a compelling reason to access such private information Ia'. In addition, the Clem()ns Court
emphasized the importance of protecting the privacy of employees who are not a party to the
action Ia’. Defendant has produced documents which includes payroll and personnel data - for
many of the identified aggrieved parties Plaintiff is representing - it is unnecessary to allow
Plaintiff to obtain access to applicant and employee records Accordingly, Defendant’s production
of hard copy documentation regarding those individuals who “applied"’ to Defendant’s business in
201 l is compliant with the scope of this lawsuit and reasonable Nevertheless Defendant offered
to provide this same information for 2012. which was not agreeable to Plaintiff
REQUEST FOR PRODUCTION NO. 19: All e-mails sent or received by the following persons
during the period from January 1, 2010, through the present, that relate to or reference Defendant's
account with FedEx Smart Post, or placements of employees at the FedEx Smart Post location:

(a) Suly Lara

(b) Victor Heredia

(c) Rebecca l\/lejia

(d) Jorge Lomelin

(e) lsabella Esmeralda
(f) l\/laribel Gonzalez
(g) Jihan Romero

(h) Adriana Castro
(i) Tamika Burchett

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(j) Gus (Last Name Unknown)

(k) Patrick Chism

(1) Jamekia Durham

(m) l\/leko Hardaway

(n) l\/Iia Drain

(o) Yumika Durham

(p) Louis Lluberes

(q) Moises Lluberes
The electronically stored information produced in response to Request No. l9 should be produced
in the native format (viz. "PST" files), with all metadata and attachments intact. If email has been
purged or deleted from active storage at any time since January 1, 2010, the PST files should be
restored from backup tapes generated from January 1, 2010 through the present.

RESPONSE NO. 19: Defendant incorporates by reference its general objections as if stated
herein Defendant objects on the basis that the request is overbroad as to time, since the allegations
relate to time period from February 2011 to November 2011. Defendant objects to this
interrogatory on the basis that it is overbroad as to scope Defendant further objects to this request
on the basis that it is impermissibly compound to the extent that it ask for information from
numerous individuals Subject to and without waiving any objections Defendant will produce
non-privileged responsive documents to the extent such documents are in the Defendant’s
possession custody, or control and can be located after a reasonable search.

SUPPLEMENTAL RESPONSE NO. 19: Subject to and without waiving any objections See
Resource000016-l4l, 162-735.

Defendant provided relevant non-privileged hard copy documents that are responsive to
Plaintiff` s request for productions through 2011, as the relevant timeframe for the alleged
discrimination occurred from February 2011 to November 2011.

Defendant avers that this request for production is overbroad as to time and scope
Plaintiff`s request for active psr documents spanning from January 1, 2010 to the present is overly
broad as to the scope and time period based on the claims asserted in this matter and not likely to
lead to the discovery of admissible information Defendant has provided Plaintiff with hard copies
of e-mails for the following individuals for the relevant time period in 201 l. Plaintiff`s request
for any e-mails in native format is overly broad because such emails that are available and in

Defendant’s custody, control, and possession can be obtained in hard copy format - which will

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display the same information as if it were in native format. This request for production is another
example of Plaintiff` s attempt to conduct an unfounded fishing expedition

REQUEST FOR PRODUCTION NO. 20: All e-mail received at any time from January l, 2010 through
the present regarding the placement of temporary employees at the Fedhx Smart Post worksite (or
any other worksite where Defendant placed, assigned, referred, or supplied workers through
Defendant's office(s) located in l\/lemphis Tennessee). '1`he electronically stored information produced
in response to Request No. 8 should be produced in the native format M "PST" files), with all
metadata and attachments intact. lf email has been purged or deleted from active storage at any time
since January l, 2010, the PS'I" files should be restored from quarterly backup tapes generated from
January 1, 2010 through the present

RESPONSE NO. 201 Defendant incorporates by reference its general objections as if stated
herein Defendant objects to this interrogatory on the basis that it is overbroad as to scope on the
basis that it seeks “all” emails at “any” time.” Defendant objects on the basis that the request is
overbroad as to time, since the allegations relate to time period from February 201 l to November
201 l. Defendant further objects to this request on the basis that it is unduly burdensome Subject
to and without waiving any objections Defendant will produce non-privileged responsive
documents to the extent such documents are in the Defendant’s possession, custody, or control and
can be located after a reasonable search.

SUPPLEMENTAL RESPONSE N(). 20: Subject to and without waiving any objections there
are not any documents responsive to this request from February 201 1 to December 201 l.

Defendant does not have any emails regarding the placement of workers at the FedEx
Smart Post. Defendant further asserts that this request for production is overbroad as to time and
scope Defendant is a temporary employment service where many applicants applied Some
applicants received placements at the FedEx Smart Post over several years and some have been
placed at other locations Plaintiff’ s request for “all e-mail received at any time from January 1,
2010 through the present regarding the placement of temporary employees at the FedEx Smart Post
worksite or any other worksite” is overly broad on its face by its identification of a large category of
documents See Cara’enas v. Dorel Juvenz'le Group, lnc., 230 FRD 6l l, 623 (D. Kansas 2005). The
over breadth of time and scope of this request is evidence by the information sought regarding

placement of employees who were not placed at the FedEx Smart Post location, as well as the

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placement of employees placed at the FedEx Smart Post location after 2011. Plaintiff identified
the time frame parameters in this litigation as February 201 1 to November 201 1.

Plaintiff’ s request of electronically stored records regarding workers from January 2010 to
present is nothing more than a fishing expedition by which Plaintiff is taking advantage of the
Defendant. Courts have stated that while Title Vll cases require broad and extensive discovery,
however, such discovery is not without its limits See Gl'llurn v. ICF Emergency Mgml, Servs,.
L.L.C., No. 08-314-C~l\/l2, 2009 WL 2136269, at *2 (l\/I.D. La. July 16, 2009); Syea’ v. Directar,
F.B.I., 1990 Wl. 259734, *3 (I:`.D.Pa. 1991); Rabbins v. Ca)na'en Cin Ba’. c)_/'Edac., 105 F.R.D. 49.
61~63 (D.N.J, 1985). ln Gillurn, the plaintiff propounded discovery requesting the defendant to
produce documents concerning employee complaints of discrimination harassment, and
retaliation based on age for a five-year period Gillu)n, 2009 WL 2136269, at *1. The Gillmn
Court limited plaintiffs discovery request to only include his age and disparate treatment elaim,
and limited the plaintiff` s request for employee complaints to only those employees who worked
in the same department as the plaintiff.

Plaintiff` s request for production is overly broad as to time and scope because it requires
Defendant to produce information about “all” temporary employees placed at FedEx Smart Post
and other locations for almost six years which on its face the relevancy is not readily apparent

IV. CONCLUSION

The challenged Request for Production are not temporally related to the allegations
identified as occurring between February and November of 2011, is unduly burdensome and is
seeking documents that are not relevant to the claims asserted in the Complaint. When balancing
the Plaintiff` s discovery request against the burden of the Defendant having to produce information

not relevant to Plaintiff"s claims nor likely to benefit this matter in comparison to Plaintiff` s need

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to have this information, the Court should find that Plaintiff` s request should be denied, since the
discovery requests are not relevant, overly broad as to time, and unduly burdensome
Wherefore premises considered, Defendant requests that the Court deny Plaintiff`s First

Motion to Compel.

Respectfully submitted April 5, 2016,

s/Robbin W. l~lutton
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CERTIFICATE OF SERVICE
l hereby certify that a copy ofthe foregoing pleading has been served upon the following
by electronic means via the Court’s Cl\/l/ECF system, this 5th day of April, 2016:

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